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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                     AT LONDON

DAVID WILSON, as Administrator of
                                                      CIVIL ACTION NO. 6:17-157-KKC
the Estate of Lisa Noble, Deceased,
       Plaintiff,

V.                                                         SCHEDULING ORDER

BEACON TRANSPORT, LLC and
TERRAN COOPER,
       Defendants.



                                           *** *** ***


           Pursuant to Fed.R.Civ.P. 16, the Court, having considered the Joint Report of

     the Parties’ Planning Meeting [DE 10], hereby ORDERS:

        1. The following deadlines shall be observed in this action:

                    (a) Counsel for parties shall exchange information required by Rule

                       26(a)(1) by August 24, 2017. These disclosures need not be filed

                       in the Court record.

                    (b) The parties shall have TO AND INCLUDING April 12, 2018 by

                       which to file any motions to join additional parties or amend

                       pleadings;

                    (c) Supplementation of disclosures and responses as required by Rule

                       26(e). Supplemental disclosures and responses need not be filed in

                       the Court record;

                    (d) Rule 26(a)(2) reports from expert trial witnesses are due:

                       (i) From Plaintiff by June 1, 2018; and


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                    (ii) From Defendants by August 15, 2018;

                (e) Fact discovery shall be completed by April 2, 2018. No later than

                    October 15, 2018, the parties shall complete all discovery,

                    including fact and expert discovery (with all discovery requests

                    served in a manner calculated for response compliant with the

                    deadline); and

                (f) All dispositive motions shall be filed no later than November 30,

                    2018, with response and reply time as per Local Rule

                    7.1(c)(1) and (2). No extensions of time may be granted by the

                    United States Magistrate Judge or by agreement of the parties.

                    Applications for extensions of time will be granted by the trial

                    judge only upon good cause shown.

      2. No motions to compel, nor any other motions relating to a discovery dispute,

         shall be filed unless all counsel involved in such dispute have first conferred

         as directed by Fed.R.Civ.P. 37(a)(2)(A).

      3. By virtue of the December 1, 2000 amendment of Fed.R.Civ.P. 5(d), the

         parties shall observe the following directives regarding the filing of discovery

         materials in this case unless the court otherwise specifically so orders:

         (a) Rule 26(a)(I) Initial Disclosures, Interrogatories and Answers or other

             responses thereto, Requests for Production of Documents and Answers or

             other responses thereto, Requests for Admission and Answers thereto,

             and any documents or tangible things produced pursuant to such

             discovery requests, as well as any discovery depositions not subject to part

             (b) below, shall not be filed; and



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          (b) The portions of any discovery depositions cited in any motion, including

             motions for summary judgment, or which may be used at trial for

             impeachment or other purposes, and any other discovery materials

             necessary to the decision of any motion filed herein shall be filed of

             record in this case.

      4. No extensions of the deadlines set in this order, or those contained in

          the separate pretrial conference order also entered this date shall be

          granted unless an appropriate motion is filed prior to expiration of

          the deadline in question, and upon a showing of good cause beyond

          the control of counsel in the exercise of due diligence.

      5. This matter is assigned for a telephonic Pretrial Conference before the trial

          judge on May 8, 2019 at 10:00 a.m. The parties are to call 888-684-8852,

          using access code 6823688. Please dial in a few minutes before the conference

          is scheduled to begin.

      6. This action is hereby set for TRIAL BY JURY on June 17, 2019 at 9:00 a.m.

          in LONDON, Kentucky. Counsel should be present by 8:30 a.m. The

          anticipated length of the trial is eight days.

      7. IT IS FURTHER ORDERED that pursuant to that pursuant to 28 U.S.C.

          §636(b)(1)(A), this matter is referred to Magistrate Judge Hanly A. Ingram

          for purposes of managing all discovery and pretrial scheduling issues,

          including resolving all discovery disputes and revising any dates and

          deadlines established in the Court's Scheduling Order.

          With regard to discovery disputes, the parties shall first attempt to resolve

   the dispute among themselves. If the parties are unable to resolve the dispute



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   among themselves, they shall attempt to resolve the dispute with the magistrate

   judge by telephone.

          If after the telephone conference with the magistrate judge the dispute is not

   resolved, i.e., the party seeking discovery is still unsatisfied with the magistrate

   judge’s oral or written ruling from the telephone conference, that party may file a

   written motion to compel containing appropriate factual and legal arguments

   directed to the magistrate judge. Likewise, if after the telephone conference, the

   party resisting discovery is unsatisfied with the magistrate judge’s oral or written

   ruling, then that party may require the other party to file a formal motion to compel

   containing appropriate factual and legal arguments directed to the magistrate judge.

   The time period for filing the motion to compel and the response and any reply shall

   be set by the magistrate judge in his discretion.

          Any party wishing to object to the magistrate judge’s ruling must file

   objections with the court within fourteen (14) days of the magistrate judge’s ruling

   pursuant to Fed.R.Civ.P. 72(a). Only after all the above steps have been completed

   will the court entertain a motion to review the magistrate judge’s final decision to

   determine whether it is clearly erroneous or contrary to law.

          Dated August 14, 2017.




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